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                 United States Court of Appeals
                      for the Ninth Circuit
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                Plaintiffs, Counter-Defendants, and Appellants,

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                          3L]]D0DQXIDFWXULQJ

                 Defendants, Counterclaimants, and Appellees.
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                 $SSHDOIURPWKH8QLWHG6WDWHV'LVWULFW&RXUW
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                    Case: 24-2626, 12/10/2024, DktEntry: 56.1, Page 2 of 23

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Apostol v. Gallion
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Azizian v. Federated Dep't Stores, Inc
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Baker v. Meiling
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Barker v. Wingo
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Batzel v. Smith
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Carbone v. Cable News Network, Inc
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CoreCivic, Inc. v. Candide Grp., LLC
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In re County of Orange
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Flo & Eddie, Inc. v. Pandora Media, LLC
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Intercon Sols., Inc. v. Basel Action Network
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Los Lobos Renewable Power, LLC v. Americulture, Inc
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Makaeff v. Trump University, LLC
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Marks v. Clarke
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Martinez v. Zoominfo Techs., Inc
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Newport Harbor Ventures, LLC v. Morris Cerullo World Evangelism
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Owino v. CoreCivic, Inc.
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Planned Parenthood Fed’n of Am. v. Ctr. for Med. Progress
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Salveson v. Kessler
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SolarCity Corp. v. Salt River Project Agric. Improvement & Power
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Travelers Cas. Ins. Co. of Am. v. Hirsh
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UnitedStates v. Heredia
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In re Westwood Plaza N.
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Will v. Hallock
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FODLPVWKHVXJJHVWHGHQEDQFUHYLHZDWPRVWFRQFHUQVDOWHUQDWLYHJURXQGVIRUWKH

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H[SODLQLQJZK\WKHVWDWXWH¶VDXWRPDWLFULJKWWRLQWHUORFXWRU\DSSHDOFRQIOLFWVZLWK

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GHIHQGDQWVOLNH$SSHOODQWVKHUHFDQVWRSDFDVHGHDGLQLWVWUDFNVDWDQ\VWDJHRI

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LQFRPSDWLEOHZLWKWKHIHGHUDOUXOHVRIFLYLOSURFHGXUH$EVHQWWKHVWDWXWRU\

PHFKDQLVPWRLQFHQWLYL]HHDUO\UHVROXWLRQRIWKHVHPRWLRQVWKHXWLOLW\RIWKHDQWL

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6/$33VWDWXWHWRIXOILOOLWVSXUSRVHRIUHVROYLQJWKHFDVHSURPSWO\DQG

LQH[SHQVLYHO\´Newport Harbor Ventures, LLC v. Morris Cerullo World

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LVDSURFHGXUDOGHYLFHWRSUHYHQWFRVWO\XQPHULWRULRXVOLWLJDWLRQDWWKHLQLWLDWLRQRI

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          7RWKHH[WHQWDQHQEDQFSDQHOXSKROGVWKLV&RXUW¶VSUHFHGHQWWKDWWKHULJKW

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WKHLUPHPRULHVPD\IDGH,IWKHZLWQHVVHVVXSSRUWWKHSURVHFXWLRQLWVFDVHZLOOEH

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EXUGHQRISURRI´Barker v. Wingo86  see also Owino v.

CoreCivic, Inc.86'LVW/(;,6  6'&DO0D\ 

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          &ULWLFDOO\$SSHOOHHV¶DQVZHULQJEULHIDQGRUDODUJXPHQWGLFWDWHRQO\RQH

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          %HFDXVHWKHFXUUHQWSDQHOKDVQRW\HWLVVXHGLWVRSLQLRQRQWKHDSSHDOLWLV

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          1RWZLWKVWDQGLQJWKHHIIHFWVRIGHOD\RQ$SSHOOHHV¶ZLWQHVVHVWKHDGGLWLRQDO

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FDQSHUIRUPDQLPSRUWDQWIXQFWLRQLQVDIHJXDUGLQJDJDLQVWWKHPLVXVHRIOHJDO

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Candide Grp., LLC)WK WK&LU )RUH[DPSOHWKH

&RXUWKDVH[SODLQHGWKDWWKHDQWL6/$33ODZ¶VSUREDELOLW\RIVXFFHVVVWDQGDUG

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Parenthood Fed’n of Am. v. Ctr. for Med. Progress)G WK

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³RXWFRPHGHWHUPLQDWLYH´HQFRXUDJHIRUXPVKRSSLQJRUOHDGWRLQHTXLWDEOH

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                          $SSHDODEOH8QGHUWKH&ROODWHUDO2UGHU'RFWULQH
          7KHFROODWHUDORUGHUGRFWULQHDOORZVLQWHUORFXWRU\DSSHDOVIURPRUGHUVWKDW

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FROODWHUDORUGHUGRFWULQHPXVWUHPDLQDQDUURZH[FHSWLRQ´SolarCity Corp. v. Salt

River Project Agric. Improvement & Power Dist)G WK&LU

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³VRPHDQWL6/$33DSSHDOVZLOOXQGRXEWHGO\GHOD\OLWLJDWLRQHYHQWKRXJKWKH

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Foreign Pol'y Grp., LLC)G86$SS'& '&&LU

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News Network, Inc)G WK&LU  7KH6HFRQG&LUFXLW

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KesslerWKHSLHFHPHDODSSHDORIDGHQLHGDQWL6/$33PRWLRQ³UHVXOWHGLQDWRWDOO\

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Azizian v. Federated Dep't Stores, Inc)G WK&LU 

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